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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 TERRI PEPPER, ANN BENITEZ,                   §
 DENISE ARNOLD, and SAMUEL                    §
 ROGERS,                                      §
                                              §
 Plaintiffs,                                  §
                                              §           CIVIL ACTION NO. 4:20-cv-2964
 v.                                           §
                                              §
 LIBERTY POWER CORP., LLC,                    §
                                              §
 Defendant.                                   §

                                          ORDER

        On this day came to be considered Hogan Lovells US LLP’s unopposed motion to

withdraw as counsel for Defendant Liberty Power Corp., LLC. Having considered this motion

and the applicable law, the Court hereby GRANTS Hogan Lovells US LLP’s motion to withdraw

from further representation of Defendant Liberty Power Corp., LLC.

        It is so ORDERED.



________________________                                 ______________________________
Date                                                     The Honorable Alfred H. Bennett
                                                         United States District Judge
